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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________________

UNITED STATES OF AMERICA                                    23-CR-112-JLS-MJR
                                                            SECOND AMENDED
      -v-                                                   SCHEDULING ORDER

JAMERE MAISONET,
               Defendant.
____________________________________________



      1.     All pretrial motions, both dispositive and non-dispositive, including all
supporting papers and memoranda of law in support thereof, shall be filed by
2/16/2024. Any motion to suppress statements or physical evidence must initially
be accompanied by an appropriate affidavit (or declaration) from an individual with
personal knowledge, failing such the Court will normally recommend that the motion
be denied without an evidentiary hearing. See United States v. Marshall, 2012 WL
5511645, *2 (W.D.N.Y.), adopted 2012 WL 5948782 (W.D.N.Y. 2012); United States
v. Longo, 70 F.Supp.2d 225, 248 (W.D.N.Y. 1999). All motions seeking severance
are to be separately filed with the Hon. John L. Sinatra, Jr.

      2.     All responses to pretrial motions, including all supporting papers and
memoranda of law in support thereof, filed in accordance with the preceding
paragraph shall be filed by 3/8/2024.

      3.     Defendant’s replies including identification of the areas of dispute that
remain following the government’s response, shall be filed by 3/22/2024.

      4.     Oral argument on any pretrial motions shall be heard on 4/3/2024 at
11:00 a.m. If necessary, an evidentiary hearing will be scheduled for a later date.

      5.     If no motions are filed on or before 2/16/2024, the government shall
immediately file a motion requesting a trial before Judge Sinatra.

      For the reasons stated on the record, I find that the government’s and the
public’s interest in a speedy trial is outweighed by the defendant’s interest in having
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effective assistance of counsel by allowing sufficient time to review voluminous
discovery and frame appropriate motions, as well as the public’s interest in possible
early resolution of the case through plea dispositions. Therefore, the time period
from today until 2/16/2024 is excluded under 18 U.S.C. §§3161(h)(7)(A) and
3161(h)(7)(B)(iv).


      If pretrial motions are filed on or before 2/16/2024, the period of time from
the filing of said motions through 4/3/2024 will be excluded pursuant to 18 U.S.C.
§3161(h)(1)(D).


      Defendant has consented to these time exclusions.


      Any requests for extension of the above dates must be in strict compliance
with Local Rule 12(g), which requires written application prior to the due date, made
to the undersigned. Such application shall be made only after conferring with all
other parties and shall include a suggested rescheduled date, agreeable to all parties.
As a general rule, no request for an extension will be granted unless extraordinary
circumstances are present.


      Failure by any party to raise defenses or objections, or to make requests which
must be made prior to trial or at the time set forth in this scheduling order or prior
to any extension made by the court shall constitute a waiver thereof.

      SO ORDERED.
DATED:       January 16, 2024
             Buffalo, New York

                                         /s/ Michael J. Roemer
                                         MICHAEL J. ROEMER
                                         United States Magistrate Judge




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